                         Case 18-10154-KKS            Doc 38       Filed 03/05/19       Page 1 of 1



                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF FLORIDA
                                        GAINESVILLE DIVISION
In Re:
                                                                   Case No. 18-10154-KKS
Jacqueline Bastanzi,                                               Chapter 7
    Debtor
______________________/

   ORDER APPROVING THE CHAPTER 7 TRUSTEE’S APPLICATION FOR AUTHORITY AND
   APPROVAL TO EMPLOY BRITTANY STOECKERT, A MEMBER OF RESULTS REALTY OF
    NORTHERN FLORIDA INC AND APPROVE LISTING AGREEMENT FOR SALE OF REAL
                             PROPERTY (DOC. 33)

         NOW the above-captioned matter comes before this Court upon the Application of the CHAPTER 7

TRUSTEE’S APPLICATION FOR AUTHORITY AND APPROVAL TO EMPLOY BRITTANY

STOECKERT, A MEMBER OF RESULTS REALTY OF NORTHERN FLORIDA INC AND APPROVE

LISTING AGREEMENT FOR SALE OF REAL PROPERTY (DOC. 33), no hearing being necessary, and the

Court being otherwise advised, it is

         ORDERED:

         1. Trustee’s Application to Employ BRITTANY STOECKERT, A MEMBER OF RESULTS

            REALTY OF NORTHERN FLORIDA INC is APPROVED.

         2. The Trustee shall present a final closing settlement statement to the Court which shall include all

            fees and expenses for final approval prior to payment.

                         5th
DONE AND ORDERED on this ____day     March
                                 of _____________, 2019.



                                   ___________________________________________
                                   KAREN K. SPECIE
                                   United States Bankruptcy Judge

Trustee is directed to serve a copy of this order on interested parties and file a proof of service within three (3) days of
entry of the order.
Order prepared by: Theresa M Bender
Copies provided to:
BARBARA A. CUSUMANO, Esq.
BASTANZI, JACQUELINE VEGA
Charles F. Edwards, Esq.
Parties in Interest
